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 1    SO. CAL. EQUAL ACCESS GROUP
      Jason J. Kim (SBN 190246)
 2    Jason Yoon (SBN 306137)
      101 S. Western Ave., Second Floor
 3    Los Angeles, CA 90004
      Telephone: (213) 252-8008
 4    Facsimile: (213) 252-8009
      scalequalaccess@yahoo.com
 5
 6    Attorneys for Plaintiff
      OMAR LUNA
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 8
                                 UNITED STATES DISTRICT COURT
 9
                                CENTRAL DISTRICT OF CALIFORNIA
10
11    OMAR LUNA,                                    Case No.: 2:21-cv-02284-ODW (JDEx)
12                 Plaintiff,                       NOTICE OF COMPLIANCE WITH
                                                    COURT ORDER
13          vs.
14
      IDAROSE CORPORATION, LTD.; and
15
      DOES 1 through 10,
16                 Defendants.
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21
22          Plaintiff’s counsel hereby files this Notice of Compliance pursuant to the Court’s
23    Order dated July 21, 2021 [Docket #17]. In compliance with the Order, Plaintiff’s
24    counsel has remitted sanctions in the amount of $300.00 to Clerk of the Court on July 30,
25    2021. A copy of the Court’s Order is attached hereto as Exhibit “A”.
26    \\\
27    \\\
28    \\\



                                     NOTICE OF COMPLIANCE - 1
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 1    Dated: July 30, 2021               SO. CAL. EQUAL ACCESS GROUP
 2
 3
 4                                       By:   _/s/ Jason J. Kim_______________
                                               Jason J. Kim, Esq.
 5                                             Attorneys for Plaintiff
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                                  NOTICE OF COMPLIANCE - 2
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                                 EXHIBIT “A”
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